              Case 2:19-cr-00678-WJM Document 158 Filed 05/24/23 Page 1 of 8 PageID: 1956
A0245C (Mod. 0/NJ 12/06)Shael 1 - Amencted Judgment in a Criminal Csse




                                                           UNITED STATES DISTRICT COURT
                                                                         District of New Jersey


  UNITED STATES OF AMERICA

             V.
                                                                                      CASE NUMBER 2:19-CR-00678-WJM-1

 ALICE CHU

            Defendant,


                                                        AMENDED JUDGMENT IN A CRIMINAL CASE
                                               (ForOffenses Committed On or After November 1,1987)

            Date of Original Judgment: 3/21/2023
            Reason for Amendment: Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)

            The defendant, ALICE CHU, ws represented by SAMUEL M. BRAVERMAN, ESQ.

            The defendant has been found not guilty on count(s) 7 & 8 of the SUPERSEDING INDICTMENT and is discharged
as to such count(s).

The defendant was found guilty on count(s) 1,2,3,4,5 & 6 by a Jury verdict on 3/8/2022 after a plea of not guilty. Accordingiy,
the court has adjudicated that the defendant is guilty of the following offense(s):

                                                                                                                            Count
 Title & Section                 Nature ofOffense                                                        Date of Offense    Numberfs)

  18:1349 CONSPIRACY TO COMMIT HEALTH CARE FRAUD                                                         2010-9/2019        1s

  18:1347 AND 2 HEALTH CARE FRAUD                                                                        2010-2019          2s-6s



       As pronounced on February 09, 2023, the defendant is sentenced as provided in pages 2 throug                        f this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

         It is ordered that the defendant must pay to the United States a special assessment of $600.00 for count(s)
1,2,3,4,5,6, which shall be due immediately. Said special assessment shali be made payable to the Clerk, U.S. District
Court

            !t is further ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until al! fines, restitution, costs and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of any
material change in economic circumstances.

            Signed this 24TH day of May, 2023.



                                                                                       William J. Martini
                                                                                       Senior U.S. DJstrict^dge




07024
             Case 2:19-cr-00678-WJM Document 158 Filed 05/24/23 Page 2 of 8 PageID: 1957
A0245C (Mod. 0/NJ 12/06)Sheet 2 . Imprisonment

                                                                                                                  T
                                                                                             Judgment - Page^STof 9
Defendant: ALICE CHU
Case Number: 2:19-CR"00678-WJM-1



                                                         IIVIPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of 21 months, on each of Counts 1,2,3,4,5 & 6 al! such terms to run concurrently.

       The Court makes the following recommendations to the Bureau of Prisons: It is strongly recommended that
defendant be designated to FCI Danbury

            The defendant will surrender for service of sentence at the institution designated by the Bureau of Prisons.




                                                             RETURN

            I have executed this Judgment as follows:




            Defendant delivered on __ __ _......_._^^^^ To
At _, with a certified copy of this Judgment.

                                                                                       United States Marshal

                                                                                 By.
                                                                                       Deputy Marshal
              Case 2:19-cr-00678-WJM Document 158 Filed 05/24/23 Page 3 of 8 PageID: 1958
A02<i5C (Mod, 0/NJ 12/06)Sheet 3 - Supervised Release

                                                                                                                   J>
                                                                                              Judgment - Pag^/4' of .y
Defendant: ALICE CHU
Case Number: 2;19-CR-00678-WJM-1



                                                        SUPERVISED RELEASE
         Upon release from imprisonment, you will be on supervised release for a term of 2 years, 2 years on each of Counts
1,2,3,4,5 & 6 al) such terms to run concurrently.

         Within 72 hours of release from custody of the Bureau of Prisons, you must report in person to the Probation Office
in the district to which you are released.

         While on supervised release, you must not commit another federal, state, or local crime, must refrain from any
unlawful use of a controlled substance and must comply with the mandatory and standard conditions that have been adopted
by this court as set forth below.

        Based on information presented, you are excused from the mandatory drug testing provision, however, you may be
requested to submit to drug testing during the period of supervision if the probation officer determines a risk of substance
abuse.

            You must cooperate in the collection of DNA as directed by the probation officer

         If this judgment imposes a fine, special assessment, costs, or restitution obligation, it is a condition of supervised
reiease that you pay any such fine, assessments, costs, and restitution that remains unpaid at the commencement of the
term of supervised release.

            You must comply with the following special conditions:

            FINANCIAL DISCLOSURE

            Upon request, you must provide the U.S. Probation Office with full disclosure of your financial records, including co-
            mingled income, expenses, assets and liabilities, to include yearly income tax returns. With the exception of the
            financial accounts reported and noted within the presentence report, you are prohibited from maintaining and/or
            opening any additional individual and/or joint checking, savings, or other financial accounts, for either personal or
            business purposes, without the knowledge and approval of the U.S. Probation Office. You must cooperate with the
            U.S. Probation Officer in the investigation of your financial dealings and must provide truthful monthly statements
            of your income. You must cooperate in the signing of any authorization to release information forms permitting the
            U.S. Probation Office access to your financial records.

            MENTAL HEALTH TREATMENT

            You must undergo treatment in a menta! health program approved by the U.S. Probation Office until discharged by
            the Court. As necessary, said treatment may also encompass treatment for gambling, domestic violence and/or
            anger management, or sex offense-specific treatment, as approved by the U.S. Probation Office, until discharged
            by the Court. The U,S. Probation Office will supervise your compliance with this condition.


            NEW DEBT RESTRICTIONS

            You are prohibited from incurring any new credit charges, opening additional lines of credit, or incurring any new
            monetary loan, obligation, or debt, by whatever name known, without the approval of the U.S. Probation Office. You
            must not encumber or liquidate interest in any assets unless it is in direct service of the fine and/or restitution
            obligation or otherwise has the expressed approval of the Court.

            SELF-EMPLOYMENT/BUSINESS DISCLOSURE

            You must cooperate with the U.S. Probation Office in the investigation and approval of any position of self-
            employment, including any independent, entrepreneurial, or freelance employment or business activity. If approved
            for self-employment, you must provide the U.S. Probation Office with full disclosure of your self-employment and
            other business records, including, but not limited to, all of the records identified in the Probation Form 48F (Request
            for Self Employment Records), or as otherwise requested by the U.S. Probation Office.
             Case 2:19-cr-00678-WJM Document 158 Filed 05/24/23 Page 4 of 8 PageID: 1959
A0245C (Mod. 0/NJ 12/06}Shsst 3a - Supervised Release


                                                                                              Judgment - Page^af9
 Defendant: ALICE CHU
 Case Number: 2:19-CR"00678-WJM-1



                                                 STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions
are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct
and condition.


1) You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
    of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
    within a different time frame,

2) After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
    how and when you must report to the probation officer, and you must report to the probation officer as instructed.

3) You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
    permission from the court or the probation officer.

4) You must answer truthfully the questions asked by your probation officer,

5) You must five at a place approved by the probation officer. If you plan to change where you !ive or anything about your
    living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
    change, If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
    the probation officer within 72 hours of becoming aware of a change or expected change.

6) You must atlow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
    probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
    view.


7) You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
    excuses you from doing so. If you do not have fuiltime employment you must try to find full-time employment, unless
    the probation officer excuses you from doing so. If you plan to change where you work or anything about your work
    (such as your position or your job responsibilities), you must notify the probation officer at least 10 days before the
    change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
    circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
    change,

8) You must not communicate or interact with someone you know is engaged in criminal activity. !f you know someone
    has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
    the permission of the probation officer,

9) If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours,

10) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
    anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
    person such as nunchakus or lasers).

11) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.

12) !f the probation officer determines that you pose a risk to another person (including an organization), the probation
    officer may require you to notify the person about the risk and you must comply with that instruction. The probation
    officer may contact the person and confirm that you have notified the person about the risk.
             Case 2:19-cr-00678-WJM Document 158 Filed 05/24/23 Page 5 of 8 PageID: 1960
W245C (Mod. 0/NJ 12/06}Shaet 3a . Supen/ised Rsisase

                                                                                                                       ^ ^
                                                                                                          Judgment -
Defendant: ALICE CHU
Case Number: 2:19-CR-00678-WJM-1



                                                STANDARD CONDITIONS OF SUPERVISION
13) You must follow the instructions of the probation officer related to the conditions of supervision.




                                                       For Official Use Only - - - US. Probation Office

   Upon a finding of a violation of probation or supervised release, I understand that the Court may (1) revoke supervision
or (2) extend the term of supervision and/or modify the conditions of supervision.

   These conditions have been read to me. I fully understand the conditions, and have been provided a copy of them.

  You shali carry out all rules, in addition to the above, as prescribed by the Chief U.S. Probation Officer, or any of his
associate Probation Officers.

                                   (Signed).
                                                                  Defendant                                Date




                                                       U.S. Probation Officer/Desjgnated Witness Date
              Case 2:19-cr-00678-WJM Document 158 Filed 05/24/23 Page 6 of 8 PageID: 1961
A02^5C (Mod, 0/NJ 12/06)Shset6 - Restitution and Forfeiture

                                                                                                                    T
                                                                                                 Judgment - Page^of^'
Defendant; ALICE CHU
Case Number: 2:19-CR-00678-WJM-1



                                                              RESTITUTION AND FORFEITURE


                                                                     RESTITUTION
         The defendant shall make restitution in the amount of $3,668,997.43. Payments should be made payable to the
U.S. Treasury and mailed to Clerk, U.S.D.C., 402 East State Street, Rm 2020, Trenton, New Jersey 08608, for proportionate
distribution to the following victims in the following amounts;

            Name of Payee (Victim) Amount of Restitution


            SEE ATTACHED LIST


The amounts ordered represent the total amounts due to the victims for these losses. The defendant's restitution obligations
shall not be affected by any restitution payments made by other defendants In this case, except that no further payments
will be required once payment(s) by one or more defendants fully satisfies the victims' total losses. The following
defendant(s) in the folfowing case(s) may be subject to restitution orders to the same victims for these same iosses:

              Rosa CalvanEco 2:21"cr-00257-01




            The restitution is due immediately. It is recommended that the defendant participate in the Bureau of Prisons Inmate
Financiai Responsibility Program (IFRP). If the defendant participates in the IFRP, the restitution shall be paid from those
funds at a rate equivatent to $25 every 3 months. In the event the entire restitution is not paid prior to the commencement
of supervision, the defendant shall satisfy the amount due in monthly installments of no (ess than $300.00, to commence
30 days after release from confinement.




        Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. A!l criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

            Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
AVAA assessment, (5) fine principai, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and
(10) costs, including cost of prosecution and court costs.
  Case 2:19-cr-00678-WJM Document 158 Filed 05/24/23 Page 7 of 8 PageID: 1962




Name of Payee     Amount of
                                               Address of Payee
   (Victim)       Restitution
                                  U.S, Dep?t of Health and Human Services
                                  Medicare Trust Fund c/o CMS
                                  Office of Financial Management
Medicare        $2,041,967.46     Division of Account Operations
                                  Mail Stop C3-09-27
                                  7500 Security Boulevard
                                  Baltimore, Maryland 21244
                                  Aetna - SIU Overpayments
                                  Ref: Case Number 20194953
Aetna           $192,305.69
                                  P.O. Box 981105
                                  El Paso, Texas 79998-1105
                                  Cigna Health and Life Insurance Company
                                  Attn: Josephine Canihuante
Cigna           $80,236.91
                                  900 Cottage Grove Road
                                  Bloomfield, Connecticut 06152
                                  Clover Health
                                  30 Montgomery Street
Clover Health   $60,858.56
                                  Suite 340
                                  Jersey City, New Jersey 07302
                                  EmblemHealth SIU
                                  Attn: Director Christopher Lupo
Emblem Health   $69,433.17
                                  395 North Service Road
                                  Melville, New York 11747
                                  Horizon Blue Cross Blue Shield of N.J.
                                  Special Investigations Unit, Mail Stop PP-16K
Horizon BCBS    $636,664,58
                                  3 Penn Plaza East
                                  Newark, New Jersey 07105
                                  Horizon New Jersey Health
Horizon NJ                        Attn: Special Investigations
                $13,910.83
Health                            1700 American Blvd,
                                  Pennington^ New_Jersey 08534
                                  Oscar Insurance Company of Florida
Oscar           $10,053.53        75 Varick Street, 5th Floor
                                  New York, New York 10013
                                  UnitedHealth Insurance Group
UnitedHealth
                $563,566.70       820 Bear Tavern Road
Care
                                  West Trenton, New Jersey 08628
TOTAL           $3,668,997.43




                                     -2-
               Case 2:19-cr-00678-WJM Document 158 Filed 05/24/23 Page 8 of 8 PageID: 1963
A02^5C (Mod, 0/HJ 12/06)Sheet 6 . Restitulton anrf Forfsiture

                                                                                                                  ^
                                                                                                  Judgment - Page.Q'bfS''
Defendant: ALICE CHU
Case Number: 2:19"CR-00678-WJM-1



                                                                RESTITUTION AND FORFEITURE


                                                                       FORFEITURE
             The defendant is ordered to forfeit the following property to the United States:

             $2,418,769.00




        Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of crimina!
monetary penalties is due during imprisonment All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons' Inmate Financia! Responsibility Program, are made to the clerk of the court,

             Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
AVAA assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and
(10) costs, including cost of prosecution and court costs.
